







&nbsp;

NUMBER 13-99-653-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


____________________________________________________________________


RICHARD JERRY KEIGHER,	Appellant,


v.



COLMAN BOYD PADY, ET AL.,	Appellees.

____________________________________________________________________


On appeal from the 156th District Court


of Aransas County, Texas.


____________________________________________________________________


O P I N I O N



Before Chief Justice Seerden and Justices Rodriguez and

Kennedy(1)

Opinion Per Curiam



	Appellant, RICHARD JERRY KEIGHER, perfected an appeal from a
judgment entered by the 156th District Court of Aransas County, Texas,
in cause number A-98-0019-CV-B.  The clerk's record was filed on
December 8, 1999.  The reporter's record was filed on February 24,
2000.   Appellant's brief was due on May 15, 2000. To date, no
appellate brief has been received.

	When the appellant has failed to file a brief in the time prescribed,
the Court may dismiss the appeal for want of prosecution, unless the
appellant reasonably explains the failure and the appellee is not
significantly injured by the appellant's failure to timely file a brief.  Tex.
R. App. P. 38.8(a)(1).

	On June 2, 2000, notice was given to all parties that this appeal
was subject to dismissal pursuant to Tex. R. App. P. 38.8(a)(1). 
Appellant was given ten days to explain why the cause should not be
dismissed for failure to file a brief.  To date, no response has been
received.

	The Court, having examined and fully considered the documents
on file, appellant's failure to file a proper appellate brief, this Court's
notice, and appellant's failure to respond, is of the opinion that the
appeal should be dismissed for want of prosecution.  The appeal is
hereby DISMISSED FOR WANT OF PROSECUTION.

							PER CURIAM


Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed

this the 22nd day of June, 2000




1. Retired Justice Noah Kennedy assigned to this Court by the Chief
Justice of the Supreme Court of Texas pursuant to Tex. Gov't Code Ann.
§74.003 (Vernon 1998).

